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TNW Bowman, Larry

 

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3. MAG. DKTJI)EF. NUMBER 4. DlsT. DKTmeF. NUMBER
2:03-020187-001

S. APPEALS DKTJDEF. NUMBER

6. OTi§_ER DKT. NUM?W)¢UH.
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v . _ d

 

7. [N CASENATTER OF {Case Name: S. PAYMENT CATEGORY

U.S. v. Bowman Felony

 

 

9. TYPE PERsoN REPREsErero
Adult Defendant

10. REP RESENTAT[ON TYPE
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Other*.'i:.‘.i "i:f i'i'i i_Y:

 

 

ll. OFFENSE(S) CI-l ARGED (C[tc U.S. Code, Tltie & Scci'ion)

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12. ATTORNEY'S NAME Firsi Name, M.I., Last Nilme, including any sufi'|x)
AND MA[L|NG ADDRE S

Schreiner, Steffen G.
369 N. Main
Memphis TN 38103

Telepl\nne Numher: §901 2 527“5000

 

14. NAME AND M_AILING ADDRESS OF LAW FrRi\'I ion|y provide per lnsiructlons]

 

   

 

13. C()URT ORDER ith `_ ` ..‘I

0 Appolntilthounsei Ei C Cu-Counsel l
m F Subs For Federsl Defender |:] ll Subs For Rera|ned A\‘tomcy
m P Suhs For Penei Atlomey m Y Siand'byCounsel

   

Prlor Atinrney's l\'ome:

 

Appninrment Date:

 

g Bee:mse the above-named person represented has testified under oech or has
rhet'vvlse satisfied this court that he or she (i) ll llnam:le|ly unable to employ counsel and
(2) does nol wish to waive eounsel, and because ille lnleresis nf]ustlce so require, the
attorney while name appears in item 12 is appointed to represent this person in this ease.

D(MML [C, 7/¢4¢/1//

Signatlsre al Press ing Judlela| ()ll'll:er or By (erer oithe Court
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Date o|'Order Nune l’ro Tune Daie
'Repaymem nr partial repayment ordered i'rom the person represented i'orth|s service at

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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c.»\TEGoRn-:s (Amwh itemization nrs¢rvi¢es with claim CE§’H‘ESH é:ox:c§§l'l§g H‘i‘§g“é§;gu UJ§§':EE)H AR§WEQ,§AL
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b. Bail and l)etent'ion Hearings
c. Mot'ion Hearings
,', d. T¢-ial
C e. Senteneing Hearings
3 f. Revocation Hearings
cr g. Appeals Court
h. Other (Specify on additional sheets)
(Rnte per hour = 5 ) TC|TALS:
16. a. lnterviews and Coni'erences
fig b. Obtnining and reviewing records
0 c. Legai research and brief writing
g d. Travel time
,‘,’ e. Investigative and Other work (sp¢¢iry nn additional sham
lt- (`Rate per hour= 5 ) TOTALS:
_ 17. Travel Expenses Uodging, parking, mea|s, mileage, ete.)
18. Other Expenses (orher than experr, cranseripcs, e¢c.)

19. CERTIFICAT!ON OF A'l'l'ORNEY/PAYEE FOR THE PERIOD 0 F SERVICE

 

 

 

 

 

 

20. AFPO[NTMENT TER.MINATIDN DATE
IF OTHER THAN CASE COMPLETION

21. CASE DISPO Sl'l`lON

 

 

 

representation'.’ YES ij N() If yes, give details nn additional sheels.
[ swear orai'f`lrm the truth or correctness of the above statements

Signansre afAttorney:

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22. C LAIM STATUS i:i Finsl Pnymeni ij lnierim l‘ayment Ntlmber ____ g Supp|emeota| Payment
l-llve you previously applied to the court itt eompenssi[nn nnd.for remlmhnrsement for this esse'.’ l:l YES l:i NO ll'yes, were you paid'.' El YES [:] NO

Olhrr than from the colE, have you, or ioyour knowledge has anyone else. received payment (compensntiosl or anything or vliue) from any other source in connection with this

 

 

  

. IN COURT C()MP. 24. OUT OF COURT COMP.

  

  
     

25. TRAVEL EXPENSES

 

 
 

26. OTHER EXFENSES 27. TOTALAMT.APFR/CERT

 

 

28. S[GNATURE DF THE PRES[DING .IUDICIAL OFFICER

DATE 281. .IUI)GE.' MAG.JUDGE CC|DE

 

29. lN COURT COMP. 30. OUT OF COURT COMP. ]l.

 

 

TRAVEL EXPENSES

32. OTHER EXPENSES 33. ToTALAMT.APPnoVED

 

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34. S[GNATURE OF CHIEF .IUDGE, COURT ()r` APP EALS(/CT DE[.EGATE)?\MM

DATE. 342. JUDGE CODE

 

 

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UNITED sTATE DRISTIC COURT - WE TENR D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy ofthc document docketed as number 50 in
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Vaieria Rac Oiivcr

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Mcmphis7 TN 38103

Honorablc J on McCalla
US DISTRICT COURT

